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12
                                      UNITED STATES DISTRICT COURT
13
                                    NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN FRANCISCO DIVISION
15

16   UNITED STATES OF AMERICA,                         )   CASE NO. 3:20-cr-00249-RS
                                                       )
17           Plaintiff,                                )   JOINT FILING REGARDING PROPOSED
                                                       )   JURY INSTRUCTION 3.9 (TESTIMONY OF
18      v.                                             )   WITNESSES INVOLVING SPECIAL
                                                       )   CIRCUMSTANCES)
19   ROWLAND MARCUS ANDRADE,                           )
                                                       )   Jury Trial:           8:30 a.m. thru ~Mar. 10, 2025
20           Defendant.                                )   Court:                Courtroom 3 | 17th Floor
                                                       )   Judge:                Hon. Richard Seeborg
21                                                     )

22           At the charge conference today, the parties disagreed as to the proper formulation of Model
23 Ninth Circuit Jury Instruction 3.9 (Testimony of Witnesses Involving Special Circumstances –

24 Immunity, Benefits, Accomplice, Plea) as it relates to witnesses Jack Abramoff and Brian Darrow. The

25 Court asked the parties to file jointly with their proposed response, and the parties do so here.

26           For context here, the entirety of Ninth Circuit Model Instruction No. 3.9 is:
27                   3.8 Testimony of Witnesses Involving Special Circumstances—
                     Immunity, Benefits, Accomplice, Plea
28

     JOINT FILING PROP. JURY INSTRUCTION 3.9
     3:20-CR-00249 RS                                 1
 1                  You have heard testimony from [name of witness], a witness who

 2                  [received [benefits] [compensation] [favored treatment] from the government in
             connection with this case];
 3
                   [admitted being] [was alleged to be] an accomplice to the crime charged. An
 4           accomplice is one who voluntarily and intentionally joins with another person in
             committing a crime];
 5
                      [pleaded guilty to a crime arising out of the same events for which the defendant
 6           is on trial. This guilty plea is not evidence against the defendant, and you may consider it
             only in determining this witness’s believability].
 7
                     For [this] [these] reason[s], in evaluating the testimony of [name of witness], you
 8           should consider the extent to which or whether his testimony may have been influenced
             by [this] [any of these] factor[s]. In addition, you should examine the testimony of [name
 9           of witness] with greater caution than that of other witnesses.

10                  Comment

11                  The instruction to consider accomplice testimony with “greater caution” is
             appropriate regardless of whether the accomplice’s testimony favors the defense or
12           prosecution. United States v. Tirouda, 394 F.3d 683, 687-88 (9th Cir. 2005). The
             Committee recommends giving this instruction whenever it is requested.
13
        I.      Government’s Proposed Instruction
14
             The government proposes that the Court instruct the jury using the proposed formulation below,
15
     which tracks the Ninth Circuit Model Instruction. As the Ninth Circuit and other circuits have held, jury
16
     instructions related to witnesses involving special circumstances, such as benefits or pleas, should
17
     generally be modeled along the lines of the circuit’s pattern instructions. See United States v. Tirouda,
18
     394 F.3d 683, 687-88 (9th Cir. 2005) (holding that an accomplice witness instruction should be properly
19
     formulated along the lines of the Ninth Circuit pattern instruction); see also United States v. Mason, 126
20
     F. App’x 702, 706 (6th Cir. 2005) (quoting United States v. Carr, 5 F.3d 986, 992 (6th Cir. 1993))).
21
     (“[I]n this circuit, specific instructions explicitly highlighting problems with accomplice testimony are
22
     not required as long as the instruction “substantially covers” the substance of the pattern jury
23
     instruction.”). Based on this model language, the government proposes that the Court give the following
24
     instruction as to Jack Abramoff and Brian Darrow:
25
                     You have heard testimony from Jack Abramoff, a witness who received benefits
26           from the government in connection with this case, and admitted being an accomplice to
             the crime charged. An accomplice is one who voluntarily and intentionally joins with
27           another person in committing a crime.
28

     JOINT FILING PROP. JURY INSTRUCTION 3.9
     3:20-CR-00249 RS                                 2
 1                    Mr. Abramoff pleaded guilty to a crime arising out of the same events for which
              the defendant is on trial. This guilty plea is not evidence against the defendant, and you
 2            may consider it only in determining this witness’s believability.
 3
                      For these reasons, in evaluating the testimony of Jack Abramoff, you should
 4            consider the extent to which or whether his testimony may have been influenced by any
              of these factors. In addition, you should examine the testimony of Jack Abramoff with
 5            greater caution than that of other witnesses.
 6                    You have heard testimony from Brian Darrow, a witness who received benefits
              from the government in connection with this case, and pleaded guilty to a crime arising
 7
              out of the same investigation for which the defendant is on trial. This guilty plea is not
 8            evidence against the defendant, and you may consider it only in determining this
              witness’s believability.
 9
                      For these reasons, in evaluating the testimony of Brian Darrow, you should
10            consider the extent to which or whether his testimony may have been influenced by any
11            of these factors. In addition, you should examine the testimony of Brian Darrow with
              greater caution than that of other witnesses.
12
        II.      Defendant’s Proposed Instruction
13

14      Mr. Andrade’s language, which is generally modeled along the lines of the pattern instruction, better

15 focuses the jury’s attention to the purpose of the instruction that is cautioning the jurors regarding these

16 witnesses’ believability. Mr. Andrade proposes and requests the following language:

17                     You have heard testimony from Jack Abramoff and Brian Darrow, who pled
              guilty to crimes arising out of the same events or investigation for which the
18            defendant is on trial, and received favorable plea deals from the government to
              testify.
19

20                    The guilty pleas of Jack Abramoff and Brian Darrow are not evidence against
              the defendant, and you may consider them only in determining the believability of
21            these witnesses.
22                   For these reasons, in evaluating the testimony of Jack Abramoff and Brian
              Darrow, you should consider, for each of them, the extent to which or whether their
23
              testimony may have been influenced by either of these factors.
24
                    In addition, you should examine the testimony of Jack Abramoff and Brian
25            Darrow with greater caution than that of other witnesses.

26 //

27 //

28 //

     JOINT FILING PROP. JURY INSTRUCTION 3.9
     3:20-CR-00249 RS                                  3
 1 DATED: March 4, 2025                            Respectfully submitted,

 2                                                 PATRICK D. ROBBINS
                                                   Acting United States Attorney
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 4
                                                      [s] David Ward _________________
 5                                                 CHRISTIAAN HIGHSMITH
                                                   DAVID WARD
 6                                                 Assistant United States Attorneys
                                                   MATTHEW CHOU
 7
                                                   Special Assistant United States Attorney
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                                                          [s] Michael J. Shepard
 9                                                 MICHAEL J. SHEPARD
                                                   KERRIE C. DENT
10                                                 CINDY A. DIAMOND
11                                                 Attorneys for Defendant
                                                   ROWLAND MARCUS ANDRADE
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     JOINT FILING PROP. JURY INSTRUCTION 3.9
     3:20-CR-00249 RS                          4
